       Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 1 of 16




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SAUL HOROWITZ, as Sellers’
Representative,

                        Plaintiff,
                                      NO. 17 CV 7742 (JPO)
               v.

NATIONAL GAS & ELECTRIC, LLC and
SPARK ENERGY, INC.,

                        Defendants.



  DEFENDANTS NATIONAL GAS & ELECTRIC, LLC & SPARK ENERGY, INC.’S
          REPLY IN SUPPORT OF THEIR MOTION TO DISMISS




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         Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 2 of 16


                                               TABLE OF CONTENTS
                                                                                                                                  Page

I.     PLAINTIFF’S FRAUDULENT INDUCEMENT CLAIM IS A REPACKAGED
       CONTRACT CLAIM AND SHOULD BE DISMISSED ................................................. 2
II.    PLAINTIFF’S TORTIOUS INTERFERENCE CLAIM SHOULD BE
       DISMISSED ...................................................................................................................... 6
       A.        Plaintiff Is Barred From Bringing Any Claim Against Spark for Conduct
                 Predating Its Purchase of Major Energy ................................................................ 6
       B.        Plaintiff Has Failed to Adequately Plead the Elements of His Claim ................... 7
       C.        Spark’s Conduct Is Privileged ............................................................................... 8
III.   PLAINTIFF’S DEMAND FOR SPECIAL DAMAGES IS BARRED ............................. 9
IV.    CONCLUSION ................................................................................................................ 10




                                                                 -i-
             Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 3 of 16




                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

Cases

Air China, Ltd. v. Kopf,
    473 F. App’x 45 (2d Cir. 2012) .................................................................................................9

Banc of Am. Sec. LLC v. Solow Bldg. Co. II, L.L.C.,
   47 A.D.3d 239 (1st Dep’t 2007) ..............................................................................................10

Banner Indus. of N.E., Inc. v. Wicks,
   No. 11-CV-1537, 2013 WL 12250346 (N.D.N.Y. June 11, 2013)........................................2, 6

Benihana of Tokyo, LLC v. Angelo, Gordon & Co.,
   259 F. Supp. 3d 16 (S.D.N.Y. 2017), appeal docketed, No. 17-966 (2d Cir.
   Apr. 6, 2017) ..........................................................................................................................8, 9

Boehner v. Heise,
   734 F. Supp. 2d 389 (S.D.N.Y. 2010)........................................................................................8

Bridgestone/Firestone, Inc. v. Recovery Credit Servs., Inc.,
   98 F.3d 13 (2d Cir. 1996)...........................................................................................................2

CCM Rochester, Inc. v. Federated Investors, Inc.,
  No. 14-CV-3600 (VEC), 2014 WL 6674480 (S.D.N.Y. Nov. 25, 2014) ..............................4, 5

Deerfield Commc’ns Corp. v. Chesebrough-Ponds, Inc.,
   68 N.Y.2d 954 (N.Y. 1986) .......................................................................................................4

Frontier-Kemper Constructors, Inc. v. Am. Rock Salt Co.,
   224 F. Supp. 2d 520 (W.D.N.Y. 2002) ..................................................................................3, 4

Gate Techs., LLC v. Delphix Capital Mkts., LLC,
   No. 12 Civ. 7075(JPO), 2013 WL 3455484 (S.D.N.Y. July 9, 2013) .......................................2

Health-Chem Corp. v. Baker,
   915 F.2d 805 (2d Cir. 1990).......................................................................................................7

In re CINAR Corp. Sec. Litig.,
    186 F. Supp. 2d 279 (E.D.N.Y. 2002) .......................................................................................6

In re Delphi Corp.,
    Nos. 08-01232-rdd, 08-01233-rdd, 2008 WL 3486615 (Bankr. S.D.N.Y. Aug.
    11, 2008) ....................................................................................................................................9

Lan Sang v. Ming Hai,
   951 F. Supp. 2d 504 (S.D.N.Y. 2013)........................................................................................7



                                                                       -ii-
            Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 4 of 16




Low v. Robb,
   No. 11-CV-2321 (JPO), 2012 WL 173472 (S.D.N.Y. Jan. 20, 2012) .......................................6

Masefield AG v. Colonial Oil Indus.,
  No. 05 Civ. 2231(PKL), 2006 WL 346178 (S.D.N.Y. Feb. 15, 2006) ......................................8

MDC Corp. v. John H. Harland Co.,
  228 F. Supp. 2d 387 (S.D.N.Y. 2002)........................................................................................9

Merrill Lynch & Co. v. Allegheny Energy, Inc.,
   500 F.3d 171 (2d Cir. 2007)...................................................................................................2, 4

MTI/Image Grp., Inc. v. Fox Studios E. Inc.,
  262 A.D.2d 20 (1st Dep’t 1999) ................................................................................................9

Osan Ltd. v. Accenture LLP,
   454 F. Supp. 2d 46 (E.D.N.Y. 2006) .........................................................................................4

PetEdge, Inc. v. Garg,
   234 F. Supp. 3d 477 (S.D.N.Y. 2017)........................................................................................4

Process Am., Inc. v. Cynergy Holdings, LLC,
   839 F.3d 125 (2d Cir. 2016).......................................................................................................9

Prospect Funding Holdings, LLC v. Vinson,
   256 F. Supp. 3d 318 (S.D.N.Y. 2017)....................................................................................7, 8

Roche Diagnostics GmbH v. Enzo Biochem, Inc.,
   992 F. Supp. 2d 213 (S.D.N.Y. 2013)........................................................................................7

Trend & Style Asia HK Co. v. Pacific Worldwide, Inc.,
   No. 14-cv-9992 (SAS), 2015 WL 4190746 (S.D.N.Y. July 10, 2015) ......................................5

VR Optics, LLC v. Peloton Interactive, Inc.,
   No. 16-CV-6392 (JPO), 2017 WL 3600427 (S.D.N.Y. Aug. 18, 2017) ...................................9

W.B. David & Co. v. DWA Commc’ns, Inc.,
   No. 02 Civ. 8479(BSJ), 2004 WL 369147 (S.D.N.Y. Feb. 26, 2004) ...................................3, 4

Wall v. CSX Transp., Inc.,
   471 F.3d 410 (2d Cir. 2006).......................................................................................................2

White Plains Coat & Apron Co., Inc. v. Cintas Corp.,
   8 N.Y.3d 422 (N.Y. 2007) ..................................................................................................... 8-9




                                                                -iii-
          Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 5 of 16




        Plaintiff’s Opposition does not and cannot remedy the flaws that doom his fraudulent

inducement and tortious interference claims. Despite Plaintiff’s legal conclusions and

buzzwords about “preconceived and undisclosed intentions,” his wordplay does not alter the fact

that Plaintiff’s allegations sound in contract, not tort. Setting aside Plaintiff’s implausible

rhetoric about a so-called fraudulent scheme, this imagined “scheme” boils down to the

allegation that NGE promised to operate Major Energy in a “business-as-usual” manner, i.e., as a

private entity, during the deferred payment period, when it allegedly had no intention to do so.1

Dismissal, with prejudice, of the fraudulent inducement claim is required because the totality of

the purported fraud is NGE’s supposed intention not to deliver on promises memorialized in and

evident from the contracts NGE executed when it bought Major Energy.

        Similarly, Plaintiff’s clarification that his tortious interference claim is premised solely on

Spark’s conduct prior to its purchase of the Major Energy equity interests from NGE likewise

does not insulate that claim from dismissal for three reasons. First, Paragraph 7.14(c) of the

MIPA bars Plaintiff from asserting any claim arising out of or relating to the MIPA against any

entity that is not a party to that agreement. Because Plaintiff insists his claim is based solely on

conduct before Spark could be deemed a party to the MIPA, his claim is barred by that

agreement. Second, Plaintiff fails to adequately allege an essential part of a tortious interference

claim: the requirement that Spark “intentionally and improperly procured the breach of the

contract.” Third, while the Court need not reach this argument, Spark was nonetheless

privileged to interfere with NGE’s contract with Sellers as a result of its economic interest in

NGE’s business (not to facilitate its own economic interests).




1
 Capitalized terms are as used in Defendants’ opening briefing in support of their Motion to Dismiss the Amended
Complaint, ECF No. 27. Cites to “Opp.” are to Plaintiff’s Opposition thereto, ECF No. 28.
         Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 6 of 16




I.     PLAINTIFF’S FRAUDULENT INDUCEMENT CLAIM IS A REPACKAGED
       CONTRACT CLAIM AND SHOULD BE DISMISSED.

       Although Plaintiff accuses NGE of “misstat[ing] the nature of Plaintiff’s fraud claim and

New York law,” see Opp. at 3, in fact, it is Plaintiff who has ignored or mischaracterized

relevant precedent and who tries to transform his allegations into something they are not.

Plaintiff glosses over the well-established law, detailed at length in Defendants’ opening brief,

that “allegations that defendant entered into a contract while lacking the intent to perform it are

insufficient to support a fraud claim” under New York law. Banner Indus. of N.E., Inc. v. Wicks,

No. 11-CV-1537, 2013 WL 12250346, at *3 (N.D.N.Y. June 11, 2013); Wall v. CSX Transp.,

Inc., 471 F.3d 410, 416 (2d Cir. 2006); see Gate Techs., LLC v. Delphix Capital Mkts., LLC, No.

12 Civ. 7075(JPO), 2013 WL 3455484, at *6 (S.D.N.Y. July 9, 2013). Instead, Plaintiff asserts it

is well-settled that “parallel fraud and contract claims may be brought” without acknowledging

the narrow circumstances identified in Bridgestone/Firestone, Inc. v. Recovery Credit Services,

Inc., 98 F.3d 13 (2d Cir. 1996) under which such “parallel” claims may proceed. Opp. at 12

(citing Merrill Lynch & Co. v. Allegheny Energy, Inc., 500 F.3d 171, 183 (2d Cir. 2007)). But

Plaintiff does not, and cannot, satisfy any of Bridgestone/Firestone’s narrow exceptions to the

rule that a plaintiff cannot base a fraud claim on the facts that underlie his contract claim.

       To bring parallel contract and fraud claims, a plaintiff must (i) demonstrate a legal duty

separate from the duty to perform under contract, (ii) demonstrate a fraudulent misrepresentation

collateral or extraneous to the contract, or (iii) seek special damages caused by the fraud and

otherwise unrecoverable as contract damages. Bridgestone/Firestone, 98 F.3d at 20. Plaintiff

tacitly admits that he has not pleaded, and cannot credibly plead, the existence of any duty owed

by NGE to Sellers or that Sellers suffered any special damages caused by the alleged

misrepresentation and that are otherwise unrecoverable in contract.



                                                 -2-
          Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 7 of 16




        Consequently, Plaintiff’s attempt to save his fraudulent inducement claim hinges on the

untenable contention that the claim is based on a false representation “collateral or extraneous to

the contract.” Opp. at 12. But Plaintiff has not alleged and cannot allege, either plausibly or

with the requisite particularity, any fraudulent misrepresentation that is collateral or extraneous

to the contracts at issue because he has not alleged, and could not allege, that NGE “promise[d]

to do something other than what is expressly required by the contract.” W.B. David & Co. v.

DWA Commc’ns, Inc., No. 02 Civ. 8479(BSJ), 2004 WL 369147, at *5 (S.D.N.Y. Feb. 26, 2004)

(emphasis added); Frontier-Kemper Constructors, Inc. v. Am. Rock Salt Co., 224 F. Supp. 2d

520, 528 (W.D.N.Y. 2002). To the contrary, the only identified misrepresentation underlying

Plaintiff’s fraudulent inducement claim is the allegation that NGE falsely stated it would

continue operating Major Energy in the manner in which it had historically been operated—

namely, as a private entity—for the upcoming three-year earnout period, notwithstanding its

purported intention to do the opposite.2 Opp. at 11. As Plaintiff readily admits, however, NGE’s

alleged “agreement to keep Major Energy operating as a private company at least during the

almost three year deferred payment period is evident from the acquisition documents executed

by the Sellers and NGE.” (Am. Comp. ¶ 61 (emphasis added); id. ¶¶ 62-63). In other words,

the “essential” promise that NGE purportedly had no intention of fulfilling was one that the

parties expressly memorialized in various provisions of their fully integrated agreements. (Id. ¶¶

41, 48, 61, 62, 68, 91, 101, 119 & pp. 19-21 (Headings E, F)). Plaintiff thus cannot escape the

conclusion that his fraudulent inducement claim is premised on the theory that NGE allegedly



2
 The Opposition asserts that Plaintiff’s fraudulent inducement claim is premised on “NGE’s undisclosed fraudulent
scheme and inducement of the Sellers to sell Major Energy and defer a significant portion of the $80 million
purchase price by means of knowingly false representations and promises.” Opp. at 11. But, Plaintiff grounds
Count I on NGE’s purported promise that it would operate Major Energy as a private company in a “business-as-
usual manner” during the deferred payment period (Am. Compl. ¶¶ 59, 61, 62, 63, 121, 124), and in the same breath,
expressly pleads that the agreements fully incorporate all of NGE’s alleged pre-contractual promises.



                                                       -3-
           Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 8 of 16




promised to perform under the MIPA and Earnout Agreements, but purportedly “never had any

intention of doing so.” (Id. ¶ 124.) This dooms Plaintiff’s attempt to plead a misrepresentation

“collateral or extraneous to” the contracts. W.B. David, 2004 WL 369147, at *5.

         Plaintiff’s conclusion that NGE had a “preconceived and undisclosed intention” not to

fulfill its alleged promise does not change the outcome. While fraudulent misrepresentations can

consist of either promises to do something in the future or misstatements of present fact,

Frontier-Kemper, 224 F. Supp. 2d at 528; PetEdge, Inc. v. Garg, 234 F. Supp. 3d 477, 492

(S.D.N.Y. 2017), Plaintiff’s case is premised on prospective promises—i.e., how NGE would run

Major Energy in the future, after closing. See Osan Ltd. v. Accenture LLP, 454 F. Supp. 2d 46,

54-55 (E.D.N.Y. 2006);3 Deerfield Commc’ns Corp. v. Chesebrough-Ponds, Inc., 68 N.Y.2d

954, 956 (N.Y. 1986); Merrill Lynch, 500 F.3d at 184. Simply concluding, without more, that

NGE had a “preconceived and undisclosed intention” not to perform does not convert NGE’s

purported misrepresentation about the future operation of Major Energy into a false statement of

present fact. In any case, nothing in the Original Complaint, the Amended Complaint, or the

Opposition substantiates Plaintiff’s suggestion of a “preconceived and undisclosed” fraudulent

intent with adequate factual allegations.4 This failing alone forecloses Plaintiff’s claim.

         The case law Plaintiff cites is inapposite. In CCM Rochester, Inc. v. Federated Investors,

Inc. (Opp. at 14-15), the court denied the motion to dismiss the fraudulent inducement claim

where the pleading alleged that plaintiff had been induced to execute an asset purchase

agreement featuring certain contingent earn-out payments by defendant’s representations that it


3
  Plaintiff fails to avoid Osan, which did not turn on a “failure to pay or properly calculate the earnout” (Opp. at 13
n.5), but instead on plaintiff’s failure to allege any misrepresentations collateral or extraneous to the parties’
contract. Osan, 454 F. Supp. 2d at 54-55.
4
  The only support for Plaintiff’s claim that “NGE had the preconceived intention of transitioning and selling Major
Energy to Spark, a public entity, shortly after closing” is the so-called “indisputable fact” that NGE began working
on the sale of Major Energy equity to Spark “just weeks after closing and completed the sale within a mere few
months of closing.” Opp. at 11-12.



                                                          -4-
         Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 9 of 16




would use its best efforts to market the plaintiff’s products. No. 14-CV-3600 (VEC), 2014 WL

6674480, at *2-3, *7 (S.D.N.Y. Nov. 25, 2014) (“In short, CCM’s claim of fraud is at the edge of

plausibility. . . .”). The CCM Rochester court found that the complaint alleged with particularity

specific misrepresentations of fact—in response to an RFP and during an in-person meeting—

that showed a fraudulent motive. No such showing is or could be offered here.

       Even more significantly, the contract at issue in CCM Rochester did not memorialize the

promises on which the plaintiff’s fraudulent inducement claim was based. There, the plaintiff

asserted two claims for breach of contract, both of which were premised on the alleged breach of

implied, not express, duties. Id. at *5-6. And that court expressly noted that, “the terms of the

[contract] do not impose any obligation on [defendant] to develop a specific plan to market or

distribute CCM’s investment products.” Id. at *6. Unlike here, the fraudulent inducement claim

was premised on promises that were truly collateral or extraneous to the contract. Id. at *4.

       Similarly, Plaintiff cites Trend & Style Asia HK Co. v. Pacific Worldwide, Inc. for the

proposition that “[i]t does not seem to matter that the alleged fraudulent representation is

virtually identical to the promise contained in the contract as long as it is made at a different time

and place.” Opp. at 16 (citing No. 14-cv-9992 (SAS), 2015 WL 4190746, at *8 n.103 (S.D.N.Y.

July 10, 2015)). Plaintiff’s reliance on Trend & Style is actually a concession that his tort and

contract claims are based on same alleged promises. There, the court permitted fraud and

contract claims to proceed where the fraud claim was based on an oral assertion that went

beyond the four corners of the contract because the alleged misrepresentations “were made well

after the alleged formation of the contracts.” Trend & Style, 2015 WL 4190746, at *8 n.104

(emphasis added). Obviously, misrepresentations made after the formation of a contract are




                                                 -5-
         Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 10 of 16




irrelevant to a claim of fraudulent inducement. See Banner Indus., 2013 WL 12250346, at *4.

The other cases Plaintiff relies on are equally unavailing.5

        Neither Plaintiff’s amended pleading nor his Opposition has changed the inescapable fact

that the essence of his fraudulent inducement claim is identical to that of his contract claim. See

Low v. Robb, No. 11-CV-2321 (JPO), 2012 WL 173472, at *1 (S.D.N.Y. Jan. 20, 2012). For

that reason, this Court should dismiss Count I of the Amended Complaint with prejudice.

II.     PLAINTIFF’S TORTIOUS INTERFERENCE CLAIM SHOULD BE DISMISSED.

        A.       Plaintiff Is Barred From Bringing Any Claim Against Spark for Conduct
                 Predating Its Purchase of Major Energy.

        Plaintiff tries at length to re-plead his tortious interference claim against Spark through

briefing, and emphasizes that it is asserted as an alternative to his contract claim and is premised

exclusively on Spark’s alleged conduct “prior to its purchase of Major Energy from NGE and

any resulting assignment of the Agreements.” Opp. at 16; id. at 17, 22. In doing so, Plaintiff

dooms his claim, because Section 7.14(c) of the MIPA expressly bars Plaintiff from asserting a

claim arising out of or relating to the parties’ agreement against any entity that is not a party:

        All claims or causes of action (whether in contract or in tort, in law or in equity)
        that may be based upon, arise out of, or relate to this Agreement, or the
        negotiation, execution or performance of this Agreement (including any
        representation or warranty made in connection with this Agreement or as an
        inducement to enter into this Agreement), may be made only against the Persons
        that are Parties hereto. No Person who is not a named party to this Agreement,
        including any Affiliate, agent, attorney, or representative of any Party (such
        Persons, “Non-Party Affiliates”), shall have any liability (whether in contract or
        tort, in law or in equity, or based upon any theory that seeks to impose liability of
        an entity party against its owners or Affiliates) for any obligations or liabilities
        arising under, in connection with, or related to this Agreement or for any claim
        based on, in respect of, or by reason of this Agreement or its negotiation or
        execution, and each Party waives and releases all such liabilities, claims, and
5
  The court in In re CINAR Corporation Securities Litigation permitted a fraud claim to proceed where the allege
misrepresentations were “ones of present fact and not of future intention,” inasmuch as the contested statements
“concerned the present financial status of the Company and did not conceal an intention to shirk their contractual
obligations.” 186 F. Supp. 2d 279, 302 (E.D.N.Y. 2002). Such statements of present fact—concerning a company’s
financial condition—are a far cry from the statements of future intention on which Plaintiff bases his claim.



                                                       -6-
        Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 11 of 16




       obligations against any such Non-Party Affiliates. Non-Party Affiliates are
       expressly intended as third party beneficiaries of this provision of this Agreement.

(Am. Compl., Ex. A. ¶ 7.14(c)). Paragraph 7.14(c) makes clear that Plaintiff may only bring

claims arising out of or relating to the MIPA against the “Persons that are Parties” to the MIPA.

(Id.) Because Plaintiff bases his tortious interference claim on Spark’s conduct prior to its

purchase of the equity interests in Major Energy, and thus before Spark was a party to the MIPA

(see Opp. at 16-19), under Paragraph 7.14(c), the Court should dismiss Count IV with prejudice.

       B.      Plaintiff Has Failed to Adequately Plead the Elements of His Claim.

       Furthermore, Plaintiff fails to adequately allege the elements required to maintain a claim

of tortious interference—specifically, an allegation that Spark “intentionally and improperly

procured the breach of the contract.” Lan Sang v. Ming Hai, 951 F. Supp. 2d 504, 527 (S.D.N.Y.

2013) (Oetken, J.). To do so, “it is not enough that a defendant engaged in conduct with a third-

party that happened to constitute a breach of the third[-]party’s contract with the plaintiff;

instead, the evidence must show that the defendant’s objective was to procure such a breach.”

Roche Diagnostics GmbH v. Enzo Biochem, Inc., 992 F. Supp. 2d 213, 221 (S.D.N.Y. 2013); see

Health-Chem Corp. v. Baker, 915 F.2d 805, 809 (2d Cir. 1990) (“[T]he interference must be

intentional and not incidental to some other lawful purpose.”). This element is not satisfied

where a plaintiff alleges merely that defendant knew of the possibility or even likelihood of the

third-party’s breach, but fails to allege that defendant intentionally procured the breach.

Prospect Funding Holdings, LLC v. Vinson, 256 F. Supp. 3d 318, 327-28 (S.D.N.Y. 2017).

       Here, Plaintiff has not alleged with the requisite particularity that Spark intentionally and

improperly procured the alleged breach of NGE’s contract with Plaintiff. Rather, Plaintiff

alleges that Spark was aware of the provision in the MIPA that required NGE to obtain the

Sellers’ approval before selling its ownership interest in Major Energy. (Am. Compl. ¶¶ 72-73,



                                                 -7-
          Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 12 of 16




145-47.) Plaintiff does not allege, for example, that Spark discouraged NGE from complying or

directed NGE not to comply with this provision in the MIPA. See Boehner v. Heise, 734 F.

Supp. 2d 389, 404 (S.D.N.Y. 2010). In fact, Plaintiff does not describe any conduct of Spark’s

that prevented NGE from seeking or receiving the consent Plaintiff contends was required.

Plaintiff has alleged only that Spark had knowledge of the condition in the MIPA that NGE

receive the Sellers’ consent before assigning certain rights and obligations to Spark under the

MIPA. It is well-established that a third party’s knowledge of a potential or likely breach of a

contract does not amount to that party’s—here, Spark’s—intentional procurement of a breach.

Prospect Funding Holdings, 256 F. Supp. 3d at 328. Plaintiff’s tortious interference claim

against Spark should be dismissed for this independent reason.

         C.       Spark’s Conduct Is Privileged.

         Finally, while the Court need not reach this issue, Plaintiff’s tortious interference claim

also fails because, as a matter of law, Spark was privileged to interfere with NGE’s contract with

Sellers as a result of its economic interest in NGE’s affairs. Benihana of Tokyo, LLC v. Angelo,

Gordon & Co., 259 F. Supp. 3d 16, 29-30 (S.D.N.Y. 2017), appeal docketed, No. 17-966 (2d

Cir. Apr. 6, 2017). Plaintiff admits that Spark and NGE are affiliated entities, with shared

leadership, that coexist within the same corporate family. (Am. Compl. ¶¶ 11, 12, 68, 73, 118;

Opp. at 20.) Although Plaintiff contends the economic interest defense is only available to

parties with a direct ownership in the other, the case law is not so limited.6 Courts routinely

agree that closely related affiliates like Spark and NGE can have an economic interest sufficient

to assert an economic interest defense. See, e.g., White Plains Coat & Apron Co., Inc. v. Cintas

6
  Indeed, the Masefield court rejected this view, stating that “[a]lthough many of the cases involving the economic
interest defense . . . have involved parent-subsidiary relationships, the Court is aware of no authority suggesting that
the defense should be limited to that circumstance. Nor can the Court conceive of a justification” for such a
limitation. Masefield AG v. Colonial Oil Indus., No. 05 Civ. 2231(PKL), 2006 WL 346178, at *8 (S.D.N.Y. Feb.
15, 2006) (footnote omitted).



                                                          -8-
          Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 13 of 16




Corp., 8 N.Y.3d 422, 426 (N.Y. 2007) (providing non-exhaustive list of scenarios in which

economic interest defense applied); MTI/Image Grp., Inc. v. Fox Studios E. Inc., 262 A.D.2d 20,

23-24 (1st Dep’t 1999) (“the named companies are affiliated with [allegedly breaching party],

either as parent or sister companies, and thus had an economic interest”). Because Spark was a

closely related affiliate acting in furtherance of its interest in NGE,7 Plaintiff’s tortious

interference claim against Spark also fails pursuant to the economic interest defense.8

III.     PLAINTIFF’S DEMAND FOR SPECIAL DAMAGES IS BARRED.

         Paragraph 9.9 of the MIPA, which limits the type of relief available to Plaintiff, applies

broadly to all claims arising out of the transaction documents. Plaintiff does not dispute that

courts routinely enforce liability limitation provisions like the one in the MIPA when contracted

by sophisticated parties like the Sellers and NGE. Process Am., Inc. v. Cynergy Holdings, LLC,

839 F.3d 125, 138 (2d Cir. 2016). Indeed, Plaintiff focuses his resistance to application of this

limitation on his claim against Spark, and effectively concedes that, with respect to NGE, an

undisputed party to the transaction documents, Section 9.9 bars his claim for special damages

absent some plausible allegation of that defendant’s conduct “‘smacks of intentional

wrongdoing’ and amount[s] to egregious intentional misbehavior.” Air China, Ltd. v. Kopf, 473

F. App’x 45, 49 (2d Cir. 2012) (quoting Kalisch-Jarcho, Inc. v. City of N.Y., 58 N.Y.2d 377, 385

(N.Y. 1983)). Here, Plaintiff has not adequately alleged that NGE’s conduct amounted to

“egregious intentional misbehavior” to justify disregarding Section 9.9. Cf. In re Delphi Corp.,


7
  The facts here are distinguishable from VR Optics, LLC v. Peloton Interactive, Inc., where this Court declined to
dismiss at the pleading stage a tortious interference claim based on the economic interest defense. There, the very
parties who sought to rely on the economic interest defense admitted that their actions “were for their own economic
interest.” No. 16-CV-6392 (JPO), 2017 WL 3600427, at *5-6 (S.D.N.Y. Aug. 18, 2017). Here, to the contrary,
Spark has made no such concession, and Plaintiff acknowledges Spark’s affiliation and shared leadership with NGE.
8
  Plaintiff also has failed to plausibly allege that Spark acted maliciously, fraudulently, or illegally as needed to
overcome the economic interest defense. Benihana, 259 F. Supp. 3d at 30. Plaintiff’s single invocation of the word
“maliciously” to describe Spark’s alleged conduct does not suffice and is distinguishable from cases in which malice
was adequately alleged. E.g., MDC Corp. v. John H. Harland Co., 228 F. Supp. 2d 387, 398 (S.D.N.Y. 2002).



                                                        -9-
        Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 14 of 16




Nos. 08-01232-rdd, 08-01233-rdd, 2008 WL 3486615, at *7 (Bankr. S.D.N.Y. Aug. 11, 2008)

(refusing to enforce exculpatory clause against defendant whose “secret efforts” to sabotage

debtor’s efforts to obtain alternate financing may “rise to the level of a bankruptcy crime”); Banc

of Am. Sec. LLC v. Solow Bldg. Co. II, L.L.C., 47 A.D.3d 239, 242 (1st Dep’t 2007) (refusing to

enforce exculpatory clause against defendant whose conduct the court found amounted “to

extortion”). As set forth in Section I, Plaintiff’s allegations of misconduct as to NGE are entirely

duplicative of his breach of contract claim and fall far short of the type of egregious conduct that

could ever justify exception from the application of Section 9.9.

       Plaintiff is likewise barred from seeking special damages against Spark. As detailed in

Section II.A, given Plaintiff’s new insistence that his tortious interference claim is based solely

on Spark’s alleged conduct prior to its purchase from NGE of the equity interests in Major

Energy, i.e., at a time when Plaintiff concedes Spark was not a party to the MIPA, it necessarily

follows that any claim Plaintiff may have against Spark arising from the parties’ agreements (and

thus any demand for special damages) is foreclosed by Paragraph 7.14(c) of the MIPA.

Accordingly, at a minimum, Plaintiff’s request for special damages as against NGE and Spark

must be stricken irrespective of whether either or both non-contract claims survive this Motion.

IV.    CONCLUSION

       For the reasons set forth here and more fully in their opening brief, Defendants

respectfully request that this Court dismiss Counts I and IV of Plaintiff’s Amended Complaint

with prejudice, and strike Plaintiff’s request for damages beyond those direct compensatory

damages permitted by the MIPA and Earnout Agreements. Because Plaintiff has already

amended once following Defendants’ initial motion, such dismissals should be with prejudice.




                                                -10-
       Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 15 of 16




Dated: March 1, 2018                       Respectfully submitted,

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                                    -11-
          Case 1:17-cv-07742-JPO Document 32 Filed 03/01/18 Page 16 of 16




                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 1st day of March, 2018, the undersigned caused to be filed

the foregoing via the Court’s CM/ECF system, which sent notice to all counsel of record in this

action.



                                                 /s/ Kenneth I. Schacter
                                                Counsel for Defendants National Gas &
                                                Electric, LLC and Spark Energy, Inc.
